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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   *

      v.                                  *        CR No. 21-mj-384-ZMF

WILLARD JAKE PEART                        *

               Defendant                   *

                             *      *     *          *    *

 DEFENDANT WILLARD JAKE PEART’S MOTION FOR PERMISSION TO TRAVEL
                                  TO CANCUN, MEXICO


           COMES NOW, the Defendant by counsel the Law Office of John S. Tatum, P.

C. and requests permission to travel to Mexico for a combined business/pleasure trip

between September 7 and September 15, 2021. In support of this Motion, Mr. Peart

informs the Court as follows:

      1. Mr. Peart is a Realtor with ERA Brokers Consolidated in the St. George, Utah

            area and has been so employed for approximately nine years. Periodically,

            he takes business/pleasure trips with colleagues and business associates as

            part of his business/networking practices.

      2. This year, Mr. Peart, his wife, and several business associates and their

            spouses are traveling to Cancun, Mexico from September 7 through

            September 15, 2021. Mr. Peart requests permission to travel to Mexico for

            this event as he has done various times in the past.

      3. If the Court approves this request, Mr. Peart will travel with his wife Rachel

            Peart and several business associates and their spouses. They will depart

            Salt Lake City, Utah on Delta Airlines Flight 649 at 9:45 a.m., Tuesday,

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   September 7, 2021. They will return to Salt Lake City, Utah, on September

   15, 2021, departing Cancun, Mexico on Delta Flight 647 at 4:42 p.m. While in

   Cancun, Mr. Peart will stay at the Fairmont Mayakoba, Cancun KM 298,

   Playa Del Carmen, Mexico 77710.

4. Mr. Peart is not a flight risk or a danger to the community:

   a. Mr. Peart has been at liberty on bond since his voluntary surrender to

       authorities on or about April 22, 2021.      Prior to that time, Mr. Peart

       contacted undersigned Defense Counsel and authorized the undersigned

       to contact the FBI and arrange to turn himself in. This was accomplished

       on or about January 20, 2021at which date Mr. Peart presented himself to

       the St. George, Utah FBI Field Office and gave a video-recorded

       statement regarding his involvement in the events of January 6, 2021 at

       the United States Capitol.   Mr. Peart has further cooperated by providing

       access to his cell phone and providing a photograph of himself in the

       clothes he was wearing on January 6, 2021. Mr. Peart has at all times

       evidenced a desire to resolve this case in an accountable fashion and has

       taken no actions to the contrary.

   b. Mr. Peart has been married to his wife Rachel for 22 years. They have

       five children two of whom are currently serving missions for the Church of

       Jesus Christ of Latter Day Saints and the others reside at home. See,

       photo of Mr. Peart and family in the photo inserted below:




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   c. Mr. Peart has other family members including his Father, Mother and

      siblings who reside either in Utah or Idaho. Mr. Peart is active in his

      Church and other community activities. He has close ties to the Hurricane

      and St. George, Utah areas and has had such for much of his life.

5. The undersigned has contacted Assistant United States Attorney Brittany

   Reed via e-mail regarding this request and we are authorized to state that the

   Government has no objection to this travel request.

6. Mr. Peart will contact his supervising Pre-Trial Officer prior to his departure

   and within 48 hours of his return from Cancun.

7. Given that the Government does not oppose this Motion and travel

   arrangements must be finalized shortly, we request that the Court rule

   thereon at its earliest opportunity without a Hearing.




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              WHEREFORE, Mr. Peart respectfully requests that the Court authorized him

          to travel to Cancun, Mexico on the dates set forth herein and for such other and

          further relief as the Court deems fit in the premises.

              Respectfully submitted this 26th day of July, 2021.


                                                          JOHN S. TATUM, P.C.



                                                          /s/ John S. Tatum
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    Please utilize this Cell Number during COVID-19 Pandemic as our office is generally closed.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of July, 2021 a true and correct copy of the
foregoing DEFENDANT WILLARD JAKE PEART’S MOTION FOR PERMISSION TO
TRAVEL TO CANCUN, MEXICO was filed with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to parties of record, including the
following:

Brittany L. Reed, Esq.
Assistant United States Attorney
Brittany.Reed2@usdoj.gov

                                                    /s/ John Tatum




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